                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

RICHARD A. JOHNSON, and                           )
C. DALE ALLEN, TRUSTEES,                          )
                                                  )
               Plaintiff,                         )
                                                  )
v.                                                )   Case No. 3:11-cv-866
                                                  )
PRUDENTIAL INSURANCE COMPANY                      )   Judge Haynes
OF AMERICA, INC.,                                 )
                                                  )
               Defendant.                         )


                                     NOTICE OF APPEAL

        Notice is hereby given that Richard A. Johnson and C. Dale Allen, in their official capacity

as Trustees, hereby appeal to the United States Court of Appeals for the Sixth Circuit from the Final

Judgment entered in this action on the 29th day of March, 2013.




                                                      s/ Winston S. Evans
                                                      Winston S. Evans (#6281)
                                                      Evans, Jones & Reynolds, P.C.
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                                                      Attorney for Plaintiffs, Richard A. Johnson
                                                      and C. Dale Allen, Trustees




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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing NOTICE OF APPEAL has
been served via the Court’s Electronic Filing System upon:

Thomas K. Potter, III
James A. Haltom
BURR & FORMAN LLP
700 Two American Center
3102 West End Ave.
Nashville, TN 37203

this 23rd day of April, 2013.

                                                s/ Winston S. Evans

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